                        EXHIBIT N




Case 1:23-cv-00878-TDS-JEP Document 56-14 Filed 01/31/24 Page 1 of 56
From:                      Ramirez, Geneva
Sent:                      Monday, January 29, 2024 11:40 AM
To:                        cleta@cletamitchell.com
Cc:                        Dockterman, Michael
Subject:                   Democracy North Carolina et al. v. Alan Hirsch et al., Case No. 1:23-cv-00878-TDS-JEP - Subpoena for
                           Documents
Attachments:               Subpoena for Documents (Mitchell) (2023.12.15).pdf

Follow Up Flag:            Follow up
Flag Status:               Completed


Ms. Mitchell:

Please find attached a copy of the subpoena for documents that was served upon you in the above‐referenced matter
on January 2, 2024, by Certified Mail. Please acknowledge receipt and advise whether you are represented by counsel in
this matter.

Best regards,

Geneva Ramirez
Associate

Steptoe
Steptoe LLP | 227 West Monroe Street | Suite 4700 | Chicago, IL 60606
+1 312 577 1279 direct | +1 312 577 1370 fax | gramirez@steptoe.com | www.steptoe.com

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 Michael Dockterman
 312 577 1243
 MDockterman@steptoe.com

 227 W. Monroe Street
 Suite 4700
 Chicago, IL 60606
 312 577 1300 main
 www.steptoe.com




                                       December 1 , 2023

Via Process Server

Cleta Mitchell
139 National Dr.
Pinehurst, NC 28374-8166


        Re:      Democracy North Carolina, et al., v. Hirsch, et al.,
                 Case No. 1:23-CV-00878 (Middle District North Carolina)
Dear Ms. Mitchell:

         Enclosed please find a Subpoena for the Production of Documents issued in the above-
referenced lawsuit which challenges the constitutionality of portions of North Carolina Senate
Bill 747, passed by the North Carolina General Assembly on October 10, 2023. As part of this
litigation, and in accordance with the Federal Rules of Civil Procedure, the parties in the case
are entitled to seek and obtain records related to the claims in the case and certain provisions of
the challenged law, including from third-parties. To that end, by way of the enclosed Subpoena,
we are requesting all records in your possession that are responsive to the requests identified
therein. For ease of reference and for additional background, we have enclosed a copy of the
operative complaint.

        Thank you for your assistance with this matter. If you have any questions, please feel free
to contact our office.



                                             Yours very truly,



                                             ________________________________
                                             Michael Dockterman

MD:me

Enclosures




    Case 1:23-cv-00878-TDS-JEP Document 56-14 Filed 01/31/24 Page 3 of 56
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                       Middle District
                                                       __________      of North
                                                                   District     Carolina
                                                                            of __________

                                                                               )
                               Plaintiff                                       )
                                  v.                                           )       Civil Action No.
                                                                               )
                                                                               )
                              Defendant                                        )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:

                                                       (Name of person to whom this subpoena is directed)

        Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:



 Place:                                                                                 Date and Time:



        Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                 Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                                                                        , who issues or requests this subpoena, are:


                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).


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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

                I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

                I returned the subpoena unexecuted because:
                                                                                                                                              .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                      .

My fees are $                                      for travel and $                             for services, for a total of $                .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
         Case 1:23-cv-00878-TDS-JEP Document 56-14 Filed 01/31/24 Page 6 of 56



AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 DEMOCRACY NORTH CAROLINA;
 NORTH CAROLINA BLACK ALLIANCE;
 LEAGUE OF WOMEN VOTERS OF
 NORTH CAROLINA,

                 Plaintiffs,                          Case No. 1:23CV00878-TDS-JEP

         v.

 ALAN HIRSCH, in his official capacity as
 CHAIR OF THE STATE BOARD OF
 ELECTIONS; JEFF CARMON III, in his
 official capacity as SECRETARY OF THE
 STATE BOARD OF ELECTIONS; STACY
 EGGERS IV, in his official capacity as
 MEMBER OF THE STATE BOARD OF
 ELECTIONS; KEVIN LEWIS, in his official
 capacity as MEMBER OF THE STATE
 BOARD OF ELECTIONS; SIOBHAN
 O’DUFFY MILLEN, in her official capacity
 as MEMBER OF THE STATE BOARD OF
 ELECTIONS; KAREN BRINSON BELL, in
 her official capacity as EXECUTIVE
 DIRECTOR OF THE STATE BOARD OF
 ELECTIONS; NORTH CAROLINA STATE
 BOARD OF ELECTIONS,

                 Defendants.

    EXHIBIT A TO SUBPOENA TO PRODUCE DOCUMENTS OR INFORMATION

        Pursuant to Rules 30, 34, and 45 of the Federal Rules of Civil Procedure, you are

commanded to produce at the time, date, and place set forth in the Subpoena the following

documents, electronically stored information or objects specified below, and permit their

inspection, copying, testing, or sampling of the materials in accordance with the Definitions and

Instructions set forth below. Further, you are directed to supplement this production as provided

by the same Rules.



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                                          DEFINITIONS

        1.     “You” and “Your” shall refer to Cleta Mitchell.

        2.     “S.B. 747” shall refer to An Act to Make Various Changes Regarding Elections

Law, N.C. Sess. Laws 2023-140.

        3.     “[P]roposed or actual changes to same-day registration” shall refer to any proposal,

concept, idea, draft language, or bill text for adding, deleting, amending, or in any way altering the

requirements for same-day registration in North Carolina, both for voters and voter applicants who

utilize North Carolina’s same-day registration system as well as for election officials and

administrators who process same-day registrations and ballots cast by same-day registrants. This

shall include, but not be limited to, any proposal that was considered or intended to be considered

by any legislative or administrative body in North Carolina.

        4.     “S.B. 747’s changes to same-day registration” shall refer to any legal requirements

for same-day registration that were added, removed, or modified by S.B. 747, both for voters and

voter applicants who utilize North Carolina’s same-day registration system as well as for election

officials and administrators who process same-day registrations and ballots cast by same-day

registrants. This shall include, but not be limited to, any changes made to the process County

Boards of Elections use to verify the residential address of a person who registers using same-day

registration, the consequence to the voter or voter applicant should such address mail verification

fail (including the status of that voter or voter applicant’s ballot), and the notice and opportunity

to be heard that a voter or voter applicant shall have should such address mail verification fail.

        5.     The words “records” and “documents” have the broadest possible meaning to

include without limitation the original as well as any identical copy/copies, whether written,

printed, typed, electronic, photostatic, photographed, recorded, graphic, digital, or otherwise,



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however produced or reproduced, whether comprised of letters, words, numbers, pictures, sounds,

symbols, or otherwise, as well as any combination thereof, whether prepared by hand or by

mechanical, electronic, magnetic, photographic, or other means, as well as audio, video, digital or

other recordings, as well as any non-identical copy/copies, including but not limited to any

preliminary versions, drafts, or revisions of any of the foregoing, along with attachments,

enclosures, comments, notations, additions, insertions, or markings of any kind.

        6.      The word “communications” includes oral statements, conversations, written

statements, events, and messages, whether send or received, whether prepared by hand or by

mechanical, electronic, magnetic, photographic, or other means, as well as audio, video, digital or

other recordings, including any and all records and documents of the same.

        7.      The word “person” means any natural person and/or any entity along with any of

that entity’s successors, parents, predecessors, subsidiaries, members, affiliates, assigns, partners,

directors, officers, employees, attorneys, accountants, representatives and/or agents.

        8.      The word “concerning” shall mean relating to, referring to, describing, evidencing,

constituting, bearing upon, addressing, respecting, regarding, discussing, mentioning, reflecting,

responding to, identifying, pertaining to, to do with, or being in any way relevant to the subject.

        9.      The word “relating” or “relates” or “relate” means comprising, mentioning or

describing, containing, enumerating, involving or in any way concerning, pertaining or referring

to, being connected with, reflecting upon or resulting from, in whole or in part, directly or

indirectly, the stated subject matter.

                                         INSTRUCTIONS
        1.      You shall furnish all information, documents, materials and things available

through a diligent search of all information, documents, materials and things within Your

possession, custody and/or control, as well as in the possession, custody and/or control of Your

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agents or representatives, including without limitation Your attorneys, accountants, advisors,

current/former employees and agents, or anyone else otherwise subject to Your control.

        2.      You shall produce the information, documents, materials and/or things as kept in

the ordinary course of business or in a manner organized and labeled to correspond with the

categories in these requests for production. If nothing is responsive to a particular request, You

shall state so in a written response to these requests. If You are unable to produce information,

documents, materials and/or things as requested, You must nevertheless provide the following

information in Your written response to these requests: (i) why production is not possible; and (ii)

if the inability to produce is due to lack of possession, the person reasonably believed to be in

possession of the information, documents, materials and/or things, if known, including their name,

address, and telephone number.

        3.      If You deem any information, document, material and/or thing sought by these

requests as privileged or otherwise protected from discovery, You must nevertheless provide the

following information in a privilege log to Plaintiffs: (i) the nature of the privilege asserted; (ii)

the person asserting the privilege; and (iii) an identification and description of the requested

information, document, material and/or thing sufficient to frame an appropriate demand upon a

motion to compel disclosure. At a minimum, the description shall include the (a) general subject

matter; (b) the date authored/created and/or communicated/shared; and (c) any and all persons

involved in authoring/creating and/or communicating/sharing the information, document, material

and/or thing.

        4.      If You perceive an ambiguity within a request, the instructions, or the definitions,

then You shall set forth (i) the matter deemed ambiguous in a written response to these requests,

(ii) the reasonable construction it used in answering the request; and (iii) Your good faith response



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to the request using that reasonable construction. No part of a request shall be left unanswered

merely because an objection is interposed to a part of the request.

        5.      In interpreting these requests, instructions, and definitions, any masculine,

feminine, or neuter term includes all other genders; the singular includes the plural and the plural

includes the singular; and “or,” “and,” and/or,” and “including” shall be read inclusively rather

than exclusively.

                                REQUESTS FOR PRODUCTION

        1.      All communications from October 1, 2022 to the present which were designed,

calibrated, constructed, drafted, prepared, disseminated, or relied upon to influence or attempt to

influence the purpose, drafting, development, and/or implementation of any proposed or actual

changes to same-day registration by the North Carolina General Assembly, including but not

limited to S.B. 747’s changes to same-day registration. This shall include any such

communications between You and third parties, including but not limited to:

                a.      North Carolina General Assembly, including but not limited to members of
                        the House of Representatives and Senate, their staff, interns, consultants,
                        contractors, and agents;

                b.      North Carolina State Board of Elections, including but not limited to any
                        individual Board members, Directors, or any other staff;

                c.      Any North Carolina County Board of Elections, including but not limited
                        to any individual Board members, Directors, or any other staff;

                d.      Any agent, employee, or representative of a North Carolina public or private
                        university or college, the University of North Carolina System, and/or the
                        North Carolina Community College System;

                e.      North Carolina Election Integrity Team(s) (NCEIT) and any
                        representatives, including but not limited to Jay DeLancy, Jim Womack, or
                        any other agent or representative of or appearing to be of NCEIT;

                f.      Voter Integrity Project (VIP) and any representatives, including but not
                        limited to Jay DeLancy, John Pizzo, or any other agent or representative of
                        or appearing to be of VIP;

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                g.       Jay DeLancy, in any capacity;

                h.       John Locke Foundation (JLF), including Civitas Center for Public Integrity,
                         and any representatives, including but not limited to Andy Jackson, or any
                         other agent or representative of or appearing to be of JLF;

                i.       Public Interest Legal Foundation (PILF) and any representatives, including
                         but not limited to J. Christian Adams, or any other agent or representative
                         of or appearing to be of PILF;

                j.       Asheville Tea Party and any representatives or agents of or appearing to be
                         of the Asheville Tea Party.

        2.      All written testimony, comments, and/or input, and any documents related thereto,

from October 1, 2022 to the present date provided by You to the North Carolina General Assembly,

any committee or subcommittee of the North Carolina General Assembly, or any legislator(s)

thereof, by mail, email, legislative portal, or by other means relating to any proposed or actual

changes to same-day registration or youth and student voting. This shall include, but not be limited

to, any notes, calendar entries, topics of discussion, and/or items discussed at any meeting with

any legislator or legislative staffer. 1

        3.      All communications relating to the rationale, purpose, drafting, development,

consideration, analysis, and/or implementation of any proposed or actual changes to same-day

registration shared by You, including but not limited to documents supporting or relating to public

statements made by You about same-day registration, S.B. 747’s changes to same-day registration,

and/or youth and student voting. This shall include, but not be limited to, documents and

communications relating to:




1
  Examples of such statements are reported at
https://www.theassemblync.com/politics/elections/north-carolina-election-integrity/ &
https://www.wral.com/story/nc-lawmakers-expected-to-roll-out-major-
election-law-changes-with-input-from-former-trump-lawyer/20889083/.
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                a.      Conservative Partnership Institute (“CPI”) summits, meetings, gatherings,
                        convenings, conferences, panels, and/or events, whether online, telephonic,
                        or in-person 2;

                b.      CPI’s Election Integrity Network summits, meetings, gatherings,
                        convenings, conferences, panels, and/or events, whether online, telephonic,
                        or in-person 3;

                c.      Summits, meetings, gatherings, convenings, conferences, panels, and/or
                        events hosted, sponsored, or otherwise affiliated, in whole or in part, with
                        or by Republican Party organizations, including but not limited to the
                        Republican National Committee (RNC), North Carolina Republican Party,
                        and county-level Republican Party organizations. 4




2
  Examples of such statements are reported at https://documented.net/investigations/recordings-
reveal-whats-really-going-on-cleta-mitchell-election-integrity-network.
3
  Examples of such statements are reported at https://documented.net/investigations/recordings-
reveal-whats-really-going-on-cleta-mitchell-election-integrity-network.
4
  Examples of such statements are reported at
https://www.washingtonpost.com/nation/2023/04/20/cleta-mitchell-voting-college-
students/; https://www.politico.com/news/2022/08/02/rnc-stop-the-steal-advocates-poll-workers-
00049109; https://michiganadvance.com/2023/05/02/a-top-gop-lawyer-wants-to-crack-down-on-
the-college-vote-states-already-are/
                                                  7
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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

  DEMOCRACY NORTH CAROLINA;
  NORTH CAROLINA BLACK ALLIANCE;
  LEAGUE OF WOMEN VOTERS OF
  NORTH CAROLINA,

         Plaintiffs,

         vs.

  ALAN HIRSCH, in his official capacity as
  CHAIR OF THE STATE BOARD OF                                       COMPLAINT
  ELECTIONS; JEFF CARMON III, in his
  official capacity as SECRETARY OF THE                         Civil Action No. 23-878
  STATE BOARD OF ELECTIONS; STACY
  EGGERS IV, in his official capacity as
  MEMBER OF THE STATE BOARD OF
  ELECTIONS; KEVIN LEWIS, in his official
  capacity as MEMBER OF THE STATE
  BOARD OF ELECTIONS; SIOBHAN
  O’DUFFY MILLEN, in her official capacity
  as MEMBER OF THE STATE BOARD OF
  ELECTIONS; KAREN BRINSON BELL, in
  her official capacity as EXECUTIVE
  DIRECTOR OF THE STATE BOARD OF
  ELECTIONS; NORTH CAROLINA STATE
  BOARD OF ELECTIONS,

         Defendants.


        Plaintiffs Democracy North Carolina, North Carolina Black Alliance, and League of

Women Voters of North Carolina (collectively, “Plaintiffs”), bring this civil rights action under

42 U.S.C. § 1983 and the First, Fourteenth, and Twenty-Sixth Amendments for declaratory and

injunctive relief against Defendants North Carolina State Board of Elections (“NCSBE”); Alan

Hirsch, in his official capacity as Chair of the NCSBE; Jeff Carmon III, in his official capacity as

Secretary of the NCSBE; Stacy Eggers IV, Kevin Lewis, and Siobhan O’Duffy Millen, all in their

official capacities as Members of the NCSBE; and Karen Brinson Bell, in her official capacity as



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Executive Director of the NCSBE (collectively, “Defendants”).                        Plaintiffs hereby allege as

follows:

                                               INTRODUCTION

         1.       For young people turning 18 years old, the right to vote is among the first

opportunities they have to participate in the democratic process. Rather than welcoming these new

voters to exercise their constitutional franchise, North Carolina Senate Bill 747 (“SB 747”) targets

the right of young voters, including students, to register to vote and have their ballots counted,

thereby making it more difficult for them to exercise that right and participate in the electoral

process. Young people are the future of North Carolina, and Plaintiffs bring this action to protect

their sacred and fundamental right to vote from the serious threat posed by SB 747.

         2.       Because young voters are often new voters who have only recently become eligible

to vote or are voting for the first time from an on-campus college address that changes yearly, they

frequently take advantage of the opportunities to register and vote on days other than Election Day.

In particular, young voters often use early voting, which provides flexibility in voting, given the

availability of “same-day registration.” Through same-day registration, voters are able to register

to vote and cast their ballot at the same time—a particularly useful means for voters who have

recently moved, as is often the case with young voters. Notably, in North Carolina, same-day

registration is available only during early voting; on Election Day only prior-registered voters are

eligible to cast a ballot.

         3.       In the 2022 midterm election, over half the electorate voted at a one-stop early

voting site. 1 And in the 2020 general election, nearly two-thirds of the electorate voted at a one-



1
  2022 General Election Turnout, NCSBE, https://www.ncsbe.gov/results-data/voter-turnout/2022-general-election-
turnout (last visited Oct. 11, 2023) (noting that 2,010,355 of a total of 3,786,904 voters, or approximately 53% of the
electorate, voted at a one-stop early voting site).


                                                          2
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stop early voting site. 2 While early voting has been extremely popular for all voters in North

Carolina’s recent elections, the availability of early voting has been critical to encourage young

and student voters to exercise their franchise. The share of young voters (age 18 to 25) using one-

stop early voting was nearly 64% in 2020 and 43% in 2022.

         4.       Same-day registration is disproportionately used by young voters so that curtailing

its use will have a disproportionate impact on their participation in the electoral process. In each

of the last four statewide elections (2016, 2018, 2020 and 2022), young voters comprised nearly

1/3 of the voters who cast ballots utilizing same-day registration. In fact, in two of those elections

(2018 and 2022), young voters were the single largest age demographic utilizing same-day

registration, even though they comprised a relatively small share (less than 15%) of the overall

electorate. And even in those elections where young voters were not the largest raw total of same-

day registrants (2016 and 2020), they were still very close to being the leading demographic.

Overall, based on voting data, young voters were by far the likeliest demographic to utilize same-

day registration.

         5.       Young voters have many reasons to prefer same-day registration. In addition to

moving frequently—often annually, especially while in college—young voters face several unique

challenges when it comes to accessing the polls. Young voters are less likely than older voters to

have a driver’s license, to own or have access to a car, or to have reliable access to other forms of

transportation. These factors are frequently exacerbated for voters of color, who also make up a

disproportionate share of young voters in North Carolina. Many young voters also have inflexible

and irregular school or work schedules. And unlike seasoned voters, many young voters have only



2
  2020 General Election Turnout, NCSBE, https://www.ncsbe.gov/results-data/voter-turnout/2020-general-election-
turnout (last visited Oct. 11, 2023) (noting that 3,629,461 of a total of 5,544,018 voters, or approximately 65% of the
electorate, voted at a one-stop early voting site).


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recently become eligible to vote—which means they may be navigating the voting process for the

first time and be unfamiliar with the processes and facilities in their locale. All these factors make

same-day registration—with its flexibility and broadly accessible hours and availability at any

early voting site in the county, including campus locations for some counties—a strongly preferred

option for young voters in North Carolina.

        6.      SB 747 erects substantial new barriers to voting found nowhere else in the North

Carolina election code, relegating new voters who use same-day registration—and who otherwise

meet all the eligibility requirements for voting—into second-class citizens whose ballots may not

be counted through no fault of their own. The impact on young voters is demonstrable: young

voters, though they are the smallest age group of voters by any measure, constitute the largest

share of all recorded registration rejections for failed mail verification in the last decade. Notably,

at the same time failed mail verification disproportionately disqualifies young voters, there is no

evidence that same-day registration has contributed to an increase in voter fraud in North Carolina.

Its only effect has been to encourage participation in American democracy through voter

registration and voting.

        7.      Under the guise of “election integrity,” SB 747’s modification to North Carolina’s

same-day registration process exacerbates the known complexities and challenges of mail

verification, particularly on or near college campuses, to prevent young and student voters from

having their voices heard at the ballot box. Instead, its restrictions on voter registration introduce

new variables that make voter participation in North Carolina more uncertain. Under SB 747,

approval of an eligible voter’s registration and ballot depends solely on whether a single piece of

mail reaches its intended destination between the time the voter votes and the day before canvass.

If that mail is returned as undeliverable—and regardless of whether the voter is otherwise eligible




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to vote and regardless of whether the voter, election board, or postal system is to blame for the

mail’s failure to reach its destination—county election boards must cancel the voter’s registration

and retrieve and destroy their ballot. No notice is given to the voter before canceling their

registration and rescinding their ballot, and the voter has no opportunity to remedy any mail

delivery issue, even if they learn of it before the close of county canvass. Instead, such voters are

left in the dark about the status of their registration and vote, and may not even discover that their

registration and vote were cancelled until they attempt to vote in the next election.

        8.      SB 747 impairs the fundamental right to vote of young voters who use same-day

registration in violation of the First, Fourteenth, and Twenty-Sixth Amendments. None of the

generic state interests offered to support SB 747, such as preventing fraud or enhancing the security

of election administration, justifies the extreme and specifically targeted burdens and barriers that

SB 747 intentionally imposes on these voters, and the North Carolina legislature offered no public

analysis, data, or documentation that even attempted to do so. Lifting these restrictions is crucial

to safeguarding the rights of young and student voters across North Carolina and ensuring a

functioning and inclusive democracy for all.

                                  JURISDICTION AND VENUE

        9.      Plaintiffs bring this action under 42 U.S.C. §§ 1983 and 1988 to redress the

deprivation under color of state law of rights secured by the United States Constitution.

        10.     This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343 because this

case arises under the U.S. Constitution and the laws of the United States and seeks equitable and

other relief for the deprivation of constitutional and federal statutory rights under color of state

law.

        11.     The Court has personal jurisdiction over the Defendants, who are sued in their

official capacities only.


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        12.     This Court has jurisdiction to grant declaratory relief pursuant to 28 U.S.C. §§ 2201

and 2202.

        13.     Venue is appropriate in the Middle District of North Carolina because a substantial

part of the events or omissions giving rise to the claims occurred in this District. 28 U.S.C.

§ 1391(b)(1).

                                             PARTIES

        A.      Plaintiffs

        14.     Plaintiff Democracy North Carolina (“Democracy NC”) is a non-partisan 501(c)(3)

organization dedicated to increasing voter access and participation and reducing the corrupting

role of money in politics through research, organizing, and advocacy. By engaging in substantial

election protection efforts to ensure that voters can access the ballot, and spending substantial time

and effort to produce non-partisan voter guides to educate voters about candidates and issues,

Democracy NC works for pro-democracy reforms that protect voting rights and improve

government accountability and ethics. Democracy NC’s volunteers, who are registered North

Carolina voters from every region of the state, form grassroots coalitions throughout the state and

spend thousands of hours advocating for more early voting sites and times to ensure that all voters,

including young voters, have reasonable access to the franchise. In previous elections, Democracy

NC has advocated for strong early voting plans, including sites on college campuses, and other

ways to allow young voters to more readily participate in elections, and plans to continue to do so

in future elections. Democracy NC also engages extensively with young and student voters. This

summer, Democracy NC completed its 24th consecutive year of Democracy Summer, a youth

leadership program that trains young people, ages 18 to 24, on all aspects of community

organizing, advocacy, and communications pertaining to voting rights. The program works

directly with college students, universities and community colleges throughout North Carolina,


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prioritizing those students attending North Carolina’s Historically Black Colleges and Universities

(“HBCUs”) and community colleges. Program graduates then become leaders on their campuses

and in their communities for voter access and voting rights, working alongside other Democracy

NC advocates to help college students access the polls through registration, assistance with

transportation, know-your-rights education, and other advocacy aimed at equitable access to the

ballot. Democracy NC’s Organizing Team, located in six regions across the state, also maintains

close relationships with the colleges and universities within their regions to ensure that student

voters can navigate the processes for registration and voting and fully participate in elections.

Through original research, policy advocacy, grassroots organizing, civic engagement, and

leadership training, Democracy NC seeks to achieve a fair and representative political system and

advance a just and equitable North Carolina.

        15.     Plaintiff North Carolina Black Alliance (“NC Black Alliance”) is a non-partisan

501(c)(3) organization that addresses policy and economic issues to enhance Black communities

by developing and promoting systemic policy change as well as youth and leadership development.

To further its mission, NC Black Alliance works to mobilize the electorate through registration

and education, including by eliminating barriers to voting participation. To mobilize Black college

students in particular, NC Black Alliance partners with North Carolina’s 11 HBCUs to encourage

students to vote and ensure that these campuses have access to fair elections, voter resources and

voter education. NC Black Alliance engages with college students at every stage of the electoral

process, helping students register and vote through education, organizing, and advocacy work.

NC Black Alliance operates three programs to support its work with students: the HBCU Think

Tank, the V-OTEC-O-MING HBCU Tour, and Raising the B.A.R. The HBCU Think Tank

program is a yearly meeting of HBCU student leaders from across North Carolina, where students




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discuss and receive training on the development of voter and civic engagement on their campuses.

The V-OTEC-O-MING HBCU Tour visits every HBCU in North Carolina with the goal of

engaging students in elections, and each tour stop provides transportation to polling locations.

Raising the B.A.R. empowers student leaders as Black Alliance Representatives, training and

equipping them to represent their campuses by advocating for youth voter engagement, civic

participation, and issues impacting their communities. NC Black Alliance has also created a

platform (located at https://safevoternc.org/) to provide voters with credible, up-to-date

information regarding voting options and clear guidelines on how they can vote and avoid

obstacles while voting at the polls. In all of its efforts, NC Black Alliance works toward state-

level systemic change through democratic engagement and collaboration with grassroots

networks, including its student programs.

        16.     Plaintiff League of Women Voters of North Carolina (“LWVNC” or the “League”)

is a non-partisan community-based 501(c)(3) organization that is the state affiliate of the League

of Women Voters, which was founded in 1920, just six months before the ratification of the

Nineteenth Amendment. LWVNC promotes political responsibility through informed and active

participation in government, including by encouraging its members and the people of North

Carolina to exercise the right to vote protected by the U.S. Constitution and the Voting Rights Act

of 1965. LWVNC impacts public policies, promotes citizen education, and makes democracy

work by, among other things, helping remove unnecessary barriers to full participation in the

electoral process. While LWVNC began as an organization focused on training women voters, it

has evolved into one dedicated to educating, advocating for, and empowering all North

Carolinians. LWVNC has 17 local leagues and approximately 1,800 members, who are registered

North Carolina voters. With Leagues located throughout the state, LWVNC’s local leagues are




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engaged in numerous activities, including hosting public forums and open discussions on issues

important to the community. Individual League members and volunteers invest hundreds of hours

in activities that focus almost exclusively on efforts to inform voters. They regularly conduct civic

engagement activities, such as voter registration, get-out-the-vote (“GOTV”) programs and

distribution of election information throughout the year, including during the early voting period.

LWVNC has developed a First Time Voter Engagement Program, which partners with local

election boards and schools to encourage young voters to register and vote, including by informing

high school and college students about the importance of voting and the rules governing elections.

LWVNC works to develop productive relationships with local college campuses in order to most

effectively perform this work. LWVNC also devotes substantial time and effort to ensuring that

government at every level in North Carolina works effectively and fairly in implementing voting

regulations and procedures. To do so, LWVNC advocates to make elections in the state more

transparent, to support a strong and diverse judiciary, and to urge for appropriate government

oversight.

        17.     Plaintiffs have standing to challenge SB 747 because the law directly impacts and

frustrates their civic engagement missions and will result in a drain on their time and resources.

SB 747 severely restricts voting opportunities that have been used by hundreds of thousands of

North Carolinians in recent elections and will make it substantially more difficult for Plaintiffs to

engage in the GOTV, voter education, voter protection, and voter registration work that they

perform in support of their civic engagement missions. Plaintiffs’ programs that focus on youth

and student engagement will be particularly hindered, given that young voters often rely on same-

day registration during the early voting period and now face acute risk of disenfranchisement under

SB 747’s new same-day registration regime.




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        18.     As a result, SB 747 will force Plaintiffs to divert time and resources away from

their many other civic engagement activities in order to bolster their GOTV, voter education, voter

protection and voter registration efforts to counteract and overcome the harm caused by SB 747 to

the communities they serve. For example, the challenged provisions of SB 747 will force Plaintiffs

to devote more resources to independent voter registration efforts before the close of the voter

registration period (25 days before a primary or general election) because qualified individuals

who submit a same-day registration application and then vote during the early voting period can

no longer rely on their ballots being counted. The change to same-day registration will also force

Plaintiffs to devote more resources to education efforts, so that voters are warned about the risk of

the new same-day registration regime, know how to correctly complete a voter registration

application to increase the likelihood of their ballot counting, and are aware of other methods of

voting that do not carry the same risk of disenfranchisement. Plaintiffs will also need to expend

more time and resources educating election officials and college or university administrators to

ensure they understand the consequence of failed mail verification for young voters and how best

to assist those voters and avoid the common administrative processes that contribute to high rates

of failed mail verification.

        19.     Additionally, LWVNC has associational standing because its members have

standing to challenge the law. LWVNC is a membership organization, and its members will be

harmed by SB 747’s restrictions on early voting and same-day registration. SB 747 will unduly

burden LWVNC’s members’ ability to participate freely and equally in the political process and,

in some cases, will deny their right to vote with no warning.

        20.     Plaintiffs also have third-party standing to bring these claims on behalf of the young

voters they engage in their organizational advocacy and who risk disenfranchisement under




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SB 747. The challenged provisions of SB 747 will affect at least some voters, and will result in

an unconstitutional burden on their right to vote if and when the challenged provisions result in

the rejection of their otherwise lawfully cast ballots. While it is virtually certain that at least some

voters will be disenfranchised by SB 747, it is impossible to ascertain precisely which voters will

be disenfranchised until they have already been disqualified, since it is unclear precisely which

North Carolinians will utilize same-day registration, and of those voters which will have a mailing

returned as undeliverable. The random nature of postal mistakes, delays, and misdirections with

no mechanism for curing such error introduces an arbitrary and unnecessary barrier to participation

in the electoral process. As structured in SB 747, because the challenged provisions will operate

to disenfranchise voters only during the pendency of an actual election when it would be far too

late to press those claims in court, those voters will be barred from vitiating their constitutional

rights in a similar action on their own behalf.

        21.     Each Plaintiff has a close relationship with the classes of voters who are at risk of

disenfranchisement under SB 747’s scheme, by virtue of their extensive, robust, and ongoing civic

engagement work regarding democratic and electoral participation generally and with young and

student voters specifically. There is also a severe hindrance to these voters’ ability to protect their

own interests, since these voters cannot say with certainty that they will utilize same-day

registration, and even if they did, they could not know whether they would be arbitrarily denied

their right to vote until it is too late for them to take remedial action, let alone seek judicial review

of the challenged provisions. Accordingly, Plaintiffs have third-party standing to bring the claims

on behalf of the voters they serve and whose rights will be threatened by SB 747.

        B.      Defendants

        22.     Defendant NCSBE is the agency responsible for the administration of the election

laws of the State of North Carolina.


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         23.      Defendant Alan Hirsch is the Chair of the NCSBE. Mr. Hirsch is sued in his official

capacity.

         24.      Defendant Jeff Carmon III is the Secretary of the NCSBE. Mr. Carmon is sued in

his official capacity.

         25.      Defendant Stacy Eggers IV is a Member of the NCSBE. Mr. Eggers is sued in his

official capacity.

         26.      Defendant Kevin Lewis is a Member of the NCSBE. Mr. Lewis is sued in his

official capacity.

         27.      Defendant Siobhan O’Duffy Millen is a Member of the NCSBE. Ms. Millen is

sued in her official capacity.

         28.      Defendant Karen Brinson Bell is the Executive Director of the NCSBE. The

Executive Director is appointed by the Board’s members and serves as the “chief State elections

official.” N.C.G.S. § 163-27. Director Brinson Bell is sued in her official capacity.

                                          STATEMENT OF FACTS

         A.       Youth Voter Registration and Participation is Steadily Increasing in North
                  Carolina’s Elections

         29.      Over the past decade, steady increases in voter registration, turnout, and overall

participation by young voters 3 in North Carolina have established young voters as a powerful

voting bloc with the potential to significantly influence election results locally and statewide.

         30.      The number of individuals aged 18 to 25 on North Carolina’s voter rolls has grown

substantially. In November 2012, there were nearly 850,000 registered young voters. By




3
  The NCSBE’s publicly available voter registration and election data categorizes registrants and voters into four
different age groups: “18 to 25,” “26 to 40,” “41 to 65,” and “over 66.” Young voters are defined here as those falling
within the 18 to 25 age group.


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November 2020, that number had grown to over 980,000 registered voters. Young voter turnout

also steadily increased during that time from approximately 55% to 60%.

        31.      North Carolina’s significant student population contributes to the overall increase

in youth voting. North Carolina has 130 post-secondary institutions (colleges, universities, and

technical and trade schools), with a total statewide enrollment of over 450,000. 4 These students

have a constitutional right to participate in the electoral process—to register, to vote and to have

their votes counted in the locations where they reside—just as new residents moving to North

Carolina for work or to retire have that right.

        B.       North Carolina’s Historical Attempts to Restrain the Youth Vote

        32.      This increase in youth voting participation and voting power has not gone

unnoticed. North Carolina’s recent history is replete with attacks on young voters and their

preference for early voting and same-day registration.

        33.      In 2013, the North Carolina General Assembly (the “General Assembly”) passed

House Bill 589 (“HB 589”), an omnibus election bill (like SB 747) that drastically reduced access

to the ballot. In particular, HB 589 decreased the number of days dedicated to early voting,

eliminated same-day registration, and eliminated preregistration—a process that allowed 16- and

17-year-olds to “preregister” to vote while obtaining their driver’s licenses or attending certain

mandatory high school events. Those preregistration applications were automatically processed

when the registrant turned 18, thereby increasing turnout among young voters. 5



4
  Colleges and Universities, NC OneMap,
https://www.nconemap.gov/datasets/ce5bbbe0c8194778859df0d3e02be3e7_0/explore?location=35.170131%2C-
80.118905%2C8.09 (last updated Mar. 22, 2023).
5
  Caroline Linnea Carlson, Expanding the Electorate: The Effects of Preregistration on Youth Turnout,

https://www.proquest.com/openview/97f9b0b534afadc7ced196fa4e64ef24/1?pq-
origsite=gscholar&cbl=18750&diss=y (finding that “preregistered voters were much more likely to turn out than non-
preregistered voters in the 2012-2016 elections” in North Carolina).


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          34.    In July 2016, the Fourth Circuit struck down the challenged provisions of HB 589

on the ground that they were motivated by discriminatory intent. See N.C. State Conf. of the

NAACP v. McCrory, 831 F.3d 204, 215 (4th Cir. 2016). Specifically, the Fourth Circuit held that

many of the justifications offered by the State for the provisions restricting or eliminating early

voting, same-day registration and preregistration—namely, “to combat voter fraud and promote

public confidence in the electoral system”—were not in fact advanced by those provisions. Id. at

235. The court explained that those proffered justifications were nothing more than “solutions in

search of a problem”—with the “problem” being “emerging support for the minority party.” Id.

at 238.

          35.    In 2018, the General Assembly again attempted to suppress youth voting by passing

Senate Bill 824 (“SB 824”), again in the name of “election integrity.” 6 SB 824 required registered

voters to present certain forms of approved photo IDs before voting. 7 While student ID cards

could satisfy this requirement in theory, they qualified as “approved” forms of voter ID only if

colleges and universities first satisfied SB 824’s complex and onerous requirements. Those

restrictions were unique to North Carolina—no other state imposed such obstacles to the use of

student ID cards for voting.

          36.    Due to SB 824’s swift implementation and the onerous requirements for approval,

many colleges and universities—including most UNC schools—were unable to meet the

requirements necessary for their student ID cards to qualify as voter photo IDs. 8                      School

administrators contacted the NCSBE and the General Assembly with concerns about the




6
  Melissa Boughton, House approves voter ID after long debate over voter fraud, NC News Line (Dec. 6, 2018, 5:30
AM), https://ncnewsline.com/2018/12/06/house-approves-voter-id-after-long-debate-over-voter-fraud-student-ids/.
7
  S.B. 824, 2017 Gen. Assemb., Reg. Sess. (N.C. 2017).
8
  Lynn Bonner, Voter ID: Most UNC system student IDs rejected for 2020 voting, The News & Observer,
https://www.newsobserver.com/news/politics-government/article228029634.html (last visited Oct. 11, 2023).


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complexity of the application process and its impact on their institutions and students. After

individual voters brought suit to challenge the constitutionality of SB 824, the General Assembly

amended the law to extend some of the deadlines for student ID approvals and relax some of the

burdensome standards on university administrators. 9

        37.     While HB 589 and SB 824 are examples of direct modifications to North Carolina

election law that negatively impacted the youth vote, the General Assembly has sought to

disadvantage the youth vote in other ways—including through gerrymandering. In 2016, after the

United States Supreme Court held that North Carolina’s 2011 congressional districts were

impermissibly race-based, 10 the General Assembly redrew the districts in a manner that divided

the nation’s largest HBCU, North Carolina A&T State University, into separate districts. 11

        38.     Young voters have also been targeted through the mechanics of local election

administration.    Over the past decade, county boards of elections have sought to close or

significantly limit on-campus early voting sites throughout the state, including at Appalachian

State University, North Carolina State University, Duke University, East Carolina University,

University of North Carolina at Charlotte, and Winston-Salem State University. 12 A state court

legal challenge concerning the closure of an early voting site at Appalachian State University

concluded with the trial court holding that the closure had “no other intent from [the] board’s




9
  H.B. 646, 2019 Gen. Assemb., Reg. Sess. (N.C. 2019).
10
   Cooper v. Harris, 581 U.S. 285, 299, 309 (2017).
11
   Ella Nilsen, North Carolina’s extreme gerrymandering could save the House Republican majority, Vox (May 8,
2018, 11:00 AM), https://www.vox.com/policy-and-politics/2018/5/8/17271766/north-carolina-gerrymandering-
2018-midterms-partisan-redistricting.
12
   Evan Walker-Wells, Blocking the youth vote in the South, Facing South (Oct. 29, 2014),                   -
LPDL.


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decision other than to discourage student voting.” 13 This tactic of restricting and opposing campus

early voting sites was openly endorsed by leadership in the General Assembly at that time. 14

         39.      From the enactment of those earlier laws to this year’s passage of SB 747, certain

advocates have attempted to erect additional barriers to voting for student and youth populations.

For example, Cleta Mitchell, a Senior Legal Fellow at the Conservative Partnership Institute and

the Founder of their Election Integrity Network, has spearheaded a “crack down” on student voting

and candidly expressed her intention to squash the youth and student vote. In 2022, Mitchell

advocated for an “army of poll watchers and workers” to prevent the “numerical majority” of

“young people, people of color, [and] unmarried women” from voting. 15 At an April 2023

conference, Mitchell pressed for rules to make it more difficult for college students to vote,

expressing a desire for advocates to “band together to limit voting on college campuses [and] same-

day voter registration . . . .” 16 Mitchell spoke disparagingly of college students’ exercise of the

franchise, asking “What are these college campus locations? What is this young people effort that

they do? They basically just put the polling place next to the student dorm so they just have to roll

out of bed, vote, and go back to bed.” Mitchell added that “we can fix a few things in North

Carolina,” 17 and recommended “strong election integrity task forces” in Durham, Wake, and



13
   See Anderson v. The North Carolina State Bd. of Elections, No. 14CVS12648, 2014 WL 6771270, at *1 (N.C.
Super. Oct. 13, 2014) (concluding that the removal of an early voting polling site from Appalachian State University
campus indicated “no other intent from [the] board’s decision other than to discourage student voting”) (alteration in
original).
14
   See Colin Campbell, “Party Line Changes” Urged to Limit Early Voting Hours, News & Observer (Aug. 18, 2016),
                       -BTCS (quoting the executive director of the North Carolina GOP, Dallas Woodhouse, as
stating, “Republicans can and should make party line changes to early voting”).
15
   Leaked Audio: Cleta Mitchell’s Election Integrity Network Bringing Conspiracy Theorists Into Election System,
Documented (Aug. 2, 2022), https://documented.net/investigations/recordings-reveal-whats-really-going-on-cleta-
mitchell-election-integrity-network.
16
   Josh Dawsey and Amy Gardner, Top GOP lawyer decries ease of campus voting in private pitch to RNC, Wash.
Post (Apr. 20, 2023, 11:28 AM), https://www.washingtonpost.com/nation/2023/04/20/cleta-mitchell-voting-college-
students/.
17
   Lynn Bonner, NC Republican proposed voting restrictions fit a red-state pattern, NC Newsline (June 22, 2023, 5:59
AM), https://ncnewsline.com/2023/06/22/nc-republican-proposed-voting-restrictions-fit-a-red-state-pattern/.


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Mecklenburg Counties—all home to large college campuses and student populations. 18 “Election

integrity” is a euphemism for preventing young voters from voting where they live, depriving those

young voters of the exercise of their constitutional rights because they are young, because they are

people of color or because they are unmarried, all of which are unlawful reasons to prevent eligible

voters from voting.

        40.      Mitchell’s focus on North Carolina was not accidental. Upon information and

belief, the drafting and passage of SB 747 was influenced by Mitchell and members of the North

Carolina Election Integrity Team (“NCEIT”), a North Carolina-based organization with which she

frequently consults. 19 Mitchell was seen repeatedly in the General Assembly halls in the lead up

to the passage of SB 747, and members of the General Assembly acknowledged meeting with

her. 20 Efforts by certain legislative leaders to distance themselves from Mitchell regarding the

drafting of SB 747 have been directly contradicted by local NCEIT chapters claiming credit for

the law. In a since-deleted blog post on an Asheville Tea Party website, NCEIT touted the

introduction of SB 747 by announcing “Look What WE Did” and “NCEIT will be tracking our

proposed legislation in the NCGA.” 21 Moreover, excerpts from NCEIT’s legislative priorities and

SB 747 itself are substantially similar, undermining any claim that Mitchell did not coordinate

with the General Assembly. 22



18
   Zachary Roth, A top GOP lawyer wants to crack down on the college vote. States already are., Mich. Advance
(May 2, 2023, 4:22 AM), https://michiganadvance.com/2023/05/02/a-top-gop-lawyer-wants-to-crack-down-on-the-
college-vote-states-already-are/.
19
   Laura Lee and Jordan Wilkie, Inside the ‘Election Integrity’ Efforts Targeting North Carolina, The Assembly (Oct.
11, 2022), https://www.theassemblync.com/politics/elections/north-carolina-election-integrity/.
20
   Will Doran, NC lawmakers expected to roll out major election law changes, with input from former Trump lawyer,
WRAL News (May 21, 2023, 10:04 PM), https://www.wral.com/story/nc-lawmakers-expected-to-roll-out-major-
election-law-changes-with-input-from-former-trump-lawyer/20889083/.
21
   J. Sailor Jones, “Look what WE did:” National extremists score with NC voter suppression bill, Laurinburg Exch.
(June 16, 2023), https://www.laurinburgexchange.com/opinion/259718/look-what-we-did-national-extremists-score-
with-nc-voter-suppression-bill.
22
   Rob Schofield, North Carolina GOP advances “Monster Voting Law” 2.0, NC Newsline (June 6, 2023, 6:00 AM),
https://ncnewsline.com/2023/06/06/north-carolina-gop-advances-monster-voting-law-2-0/.


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        41.     Proponents of SB 747 also expressed direct animus toward young voters’

democratic participation, casting doubt on their equal standing as voters while SB 747 was being

considered. While debating a related elections bill, House Bill 770, in the House Election Law

and Campaign Finance Committee on September 12, 2023 (after SB 747 was vetoed but before

the veto was overridden), multiple members of the General Assembly made disparaging statements

about youth voters in North Carolina. One such representative said “the problem is that college

students don’t understand the issues of local politics or the local people.…when you have a big

university in a college town, the college students effectively have the ability to completely

eliminate essentially the representation of the local people because they don’t understand the

issues.” In the same hearing, a different representative argued that students exercising their right

to vote “certainly does have an impact on the local communities” and that college voters “may or

may not be as well versed in the issues or really have a right to say within those local communities.”

These remarks, and the lack of regard they demonstrate for the full and equal democratic rights of

young voters to participate in local governance and help shape their communities, were

enthusiastically endorsed in a public comment from Jay Delancy, the founder of NCEIT, during

the hearing. “Representative [], I love your idea,” Delancy said. “It impacts State House races in

Boone and in New Hanover. Those college campuses totally blow up even State House races with

the impact, the disproportionate impact those kids bring.”

        42.     After making these comments in debate over HB 770, both representatives voted to

override the veto for SB 747.




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        C.      Registering to Vote and Voting in North Carolina Prior to SB 747

                1.       Laws Related to Voter Registration, Early Voting, and Same-Day
                         Registration

        43.     North Carolina elections are governed by the North Carolina State Constitution,

election statutes (primarily N.C.G.S. Chapter 163, titled “Elections and Election Laws”),

administrative rules, and guidance issued by the Executive Director of the NCSBE through

Numbered Memos.

        44.     Under North Carolina law, an individual is eligible to vote if they are a U.S. Citizen,

live in the county where they are registering and have resided there for at least 30 days prior to

Election Day, are at least 18 years old (or will be by the date of the general election), and are not

serving a felony sentence, including any period of probation, post-release supervision, or parole.

Registration is a prerequisite to voting. N.C.G.S §§ 163-54, 163-55; N.C. Const. art. VI, § 2.

                         (a)     Voter Registration

        45.     Persons eligible to vote in North Carolina can register in person, by mail, or (under

some circumstances) online with the North Carolina Department of Motor Vehicles (“DMV”). To

register, an applicant must complete and submit the voter registration form prepared by the

NCSBE.

        46.     The voter registration form requires the applicant to provide their name; date of

birth; residential address; a mailing address if not receiving mail at their residential address; and a

sworn attestation as to certain qualifications to vote. 23 The form also requires the applicant to

provide either (i) a North Carolina driver’s license or non-operator’s identification number or

(ii) the last four digits of their social security number. 24         First-time North Carolina voting


23
   North Carolina Voter Registration Application,
https://s3.amazonaws.com/dl.ncsbe.gov/Voter_Registration/NCVoterRegForm_06W.pdf (last visited Oct. 11, 2023).
24
   Id.


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registrants who do not provide a North Carolina driver’s license, DMV ID card, or social security

number are required to attach a copy of a current utility bill, bank statement, government check,

paycheck, or other government document showing their name and address. 25

           47.   The civilian voter registration deadline is 25 days before Election Day. N.C.G.S.

§ 163-82.6(d). Accordingly, for a completed voter registration form to be accepted, it must be

submitted in person and received by the county board of elections by 5:00 p.m. on the twenty-fifth

day before a primary or election. If submitted by mail, the registration form must be postmarked

by that date. N.C.G.S. § 163-82.6(d).

           48.   Significantly, if the voter failed to complete any required item on the registration

form but provided enough information to enable the county board of elections to identify and

contact the voter, the voter shall be notified of the omission and given the opportunity to complete

the form by 5:00 p.m. on the day before the county canvass. N.C.G.S. § 163-82.4(f). If the voter

corrected that omission by that time and was determined by the county board of elections to be

eligible to vote, the board shall permit the voter to vote. Id. If the information is not corrected by

Election Day, the voter shall be allowed to vote a provisional official ballot. Id. If the correct

information is then provided to the county board of elections by at least 5:00 p.m. on the day before

the county canvass, the board shall count any portion of the provisional official ballot that the voter

is eligible to vote. Id.




25
     Id.


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                         (b)      Same-Day Registration

        49.      Individuals qualified to register to vote, but who fail to register by the deadline

(25 days before Election Day), may still register during the early voting period and vote at an early

voting site utilizing “same-day registration.” N.C.G.S. § 163-82.6A. 26

        50.      Same-day registrants must attest to their eligibility and provide documented proof

of their residential address. N.C.G.S. § 163-82.6A(b). A voter attests to their eligibility by

completing and signing the North Carolina voter registration application and proves their residence

by showing any of the following documents with their current name and address: a North Carolina

driver’s license; any government issued photo ID that includes the voter’s current name and

address; or a copy of a current utility bill, bank statement, government check, paycheck, or other

government document showing the voter’s name and address. N.C.G.S. §§ 163-82.6A(b)(1), (2).

Without this documentation, a voter may not same-day register, and if not already registered in the

county, may not cast a ballot.

        51.      A college or university student may register and vote in the county where they

attend school if they are physically present in the school community and do not intend to return to

their former home after graduation. N.C.G.S. § 163-57(12). In addition to the documentation

noted above, proof of residence for college students attempting to same-day register in the county

where they attend school includes (i) a document originating with the educational institution and

stating the student’s name and on-campus housing address or facility name, or (ii) a current

college/university photo identification card together with a current roster prepared by the



26
   Because the General Assembly never amended the Election Code following the Fourth Circuit’s decision in
McCrory, the controlling version of N.C.G.S. 163.82.6A (prior to the passage of SB 747) appears appended to the
NCSBE’s Numbered Memo 2016-15. See Same-Day Registration During One-Stop Early Voting, Numbered Memo
2016-15           at         Appendix           A,          NCSBE             (Sept.        22,         2016),
https://s3.amazonaws.com/dl.ncsbe.gov/sboe/numbermemo/2016/Numbered_Memo_2016-15_Same-
Day_Registration.pdf.


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college/university and transmitted to the county board of elections office listing all students

residing in campus housing facilities. 27

        52.      A same-day registrant who attests to their eligibility and provides documented

proof of residence can then immediately vote after satisfying the voter photo ID requirement,

which requires presentation of an approved photo ID if not already presented for purposes of

proving their address (such as a North Carolina DMV driver’s license, which satisfies both the

same-day registration and voter photo ID requirements). A person who registers to vote utilizing

same-day registration will vote a retrievable absentee ballot. N.C.G.S. § 163-82.6A(c). If a person

declines to vote immediately following the submission of their same-day registration, the

registration will still be processed and the person may later vote at an early voting site in that

election. Id.

                         (c)                                         and Address of Applicant

        53.      When a county board of elections receives a registration application within the

normal registration period, the board must verify that the voter is qualified to vote at the address

given. N.C.G.S. § 163-82.7(a).

        54.      If the county board determines that the applicant is not qualified to vote at the

address given, within two business days of that determination, the applicant must be sent a notice

of denial of registration by certified mail informing them of alternatives they may pursue to

register. N.C.G.S. § 163-82.7(b). The applicant may appeal such a denial, which results in a

public hearing and opportunity to be heard. N.C.G.S. § 163-82.18.




27
  Register in Person During Early Voting, NCSBE, https://www.ncsbe.gov/registering/how-register/register-person-
during-early-voting; see also Same-Day Registration During One-Stop Early Voting, Numbered Memo 2016-15 at
Appendix A, NCSBE (Sept. 22, 2016),
https://s3.amazonaws.com/dl.ncsbe.gov/sboe/numbermemo/2016/Numbered_Memo_2016-15_Same-
Day_Registration.pdf.


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        55.     If the county board tentatively determines that the applicant is qualified to vote at

the address given, it must, within a reasonable time after receiving the application, proceed with a

mail verification process. N.C.G.S. § 163-82.7(a)(2).

        56.     The mail verification process under N.C.G.S. § 163-82.7 involves two rounds of

notices sent by non-forwardable mail to the address provided on the application form. If the Postal

Service does not return the First Notice as undeliverable, then the county board registers the

applicant to vote. N.C.G.S. § 163-82.7(c)–(d). If the First Notice is returned as undeliverable,

then the county board sends the Second Notice. N.C.G.S. § 163-82.7(e). If the Second Notice is

not returned as undeliverable, then the county board registers the applicant to vote. Id. Only if

both notices are returned as undeliverable does the county board deny the application based on a

lack of verification of address. N.C.G.S. § 163-82.7(f).

        57.     The verification of same-day registration applications followed a similar process.

Within two business days of the person’s registration, the county board of elections would verify

the registrant’s driver’s license or Social Security number, update the voter registration database,

search for possible duplicate registrations, and begin to verify the registrant’s address utilizing the

same two-notice mail verification process outlined in N.C.G.S. § 163.82.7. See N.C.G.S. § 163-

82.6A(d).

                        (d)     Voting When the Verification Process Is Incomplete

        58.     Prior to SB 747, in cases where an election occurs before the address mail

verification process is completed, the applicant—regardless of whether they registered during

early voting or not—was still permitted to vote. North Carolina law states that such a “person

shall not be denied the right to vote in person in an election unless the Postal Service has returned




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as undeliverable two notices to the applicant: one mailed pursuant to subsection (c) of this section

and one mailed pursuant to subsection (e) of this section.” N.C.G.S. § 163-82.7.

        59.     If the Postal Service returned as undeliverable a First Notice sent within 25 days

before the election, then the applicant could vote in person, either on election day or at an early

voting site, but not absentee-by-mail. Id. § 163-82.7(g)(2). In that scenario, the county board had

to establish procedures to obtain the correct address of the person appearing to vote and ensure

that the person votes in the proper polling place and in the proper contests. Id.

        60.     If a First or Second Notice is returned as undeliverable after a person has already

voted by absentee ballot (in person at an early voting site or by mail), then that ballot may be

formally challenged. Id. The challenge procedure requires a hearing in which the challenged voter

is permitted to appear personally or through a representative. N.C.G.S. § 163-89(e). Written

notice must be provided to the voter. 28

        61.     If a First or Second Notice was returned as undeliverable after a person had already

voted, the voter’s ballot was still counted, but the county board was required to begin a

confirmation mailing process to confirm the person’s registration under N.C.G.S. § 163-

82.14(d)(2) and could remove the registration only if the individual failed that separate, multi-step

process. N.C.G.S. § 163-82.7(g)(3). Collectively, the protections in existing North Carolina law,

prior to the passage of SB 747, adequately protect the electoral process and represent a reasonable

compromise between securing elections and encouraging all voters to participate in this

fundamental American right to cast a ballot in elections where the voter lives.




28
  County Board Challenges to Ineligible Absentee Ballots, Numbered Memo 2022-05 at 4, NCSBE (May 12, 2022),
https://s3.amazonaws.com/dl.ncsbe.gov/sboe/numbermemo/2022/Numbered%20Memo%202022-
05_Absentee%20Voter%20Challenges%20by%20County%20Board.pdf.


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                  2.       Qualified Young Voters, Including Students, Experience High Rates
                           of Failed Mail Verification, Which Threatens Their Ability to Vote

         62.      An analysis of NCSBE data regarding voter registration applicants who were

rejected or otherwise not added to the official eligible voter list due to failed mail address

verification demonstrates that nearly 50% of the approximately 91,000 denials that were recorded

from January 2012 to January 2022 were attributed to registrants aged 18 to 25. This statistic alone

is significant, as it shows that it is young voters who are impacted most by this form of voter

verification. But what makes this statistic striking is that, over that same time period, the 18 to 25

age group was consistently the smallest group in terms of overall voter registration and ballots cast

in any given election. Put differently, young voters—even though they are the smallest age group

by any measure—constitute the largest share of all recorded registration rejections for failed mail

verification in the last decade.

         63.      Street addresses associated with colleges and universities were some of the most

frequently appearing addresses on the list of registration denials. Six of the top ten most frequent

areas for denials were campus or university addresses, with registrations from addresses around

North Carolina Central University 29 in Durham County, UNC Pembroke in Robeson County, and

North Carolina A&T in Guilford County being the top three.

         64.      An analysis of provisional ballots cast by young voters proves the same point.

Voters frequently cast provisional ballots when they experience problems with their voter

registration, such as failed mail verification. These problems are most frequently faced by young

voters. 30 In 2016, more than 300 young voters cast provisional ballots on Election Day in Durham


29
   Gunther Peck et al., Provisional Rights and Provisional Ballots in a Swing State: Understanding How and Why
North Carolina College Students Lose Their Right to Vote, 2008-Present, 74 Rutgers L. Rev. 1799, 1813 (2022)
(highlighting that mail is not deliverable at NCCU’s street address).
30
   Id. at 1811 (“[T]he primary reason that young people in Durham have had their registration denied is the lack of a
mailing address. In the last five years, all 923 young citizens with rejected registrations were denied because they
did not have verifiable mailing addresses, documented as ‘undeliverable.’”).


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County, only to have their votes discarded. 31 Since then, ballot rejection rates for young voters

have increased across North Carolina. 32 In 2020, the youth provisional ballot rejection rate was

95% in Durham County and 73% in all of North Carolina. 33

         65.      Through their programs and activities on campuses across the state, Plaintiffs have

witnessed the unique challenges faced by students attempting to navigate the complexities of North

Carolina law and election administration, as well as the administration of their own schools.

         66.      For example, on certain North Carolina campuses, students cannot receive mail at

the address they are required to list as their place of residence—usually a centralized

college/university address.      Instead, they must list a particular dorm room, P.O. Box, or

college/university-specific modifier to their mailing address in order for mail to be successfully

delivered and not returned as undeliverable. If those students fail to list the correct mailing address

or incorrectly list the place where they physically reside as their mailing address, or if the Postal

Service cannot access or locate the listed residence, such as a dorm room, the voters will fail mail

verification despite meeting all eligibility requirements for voting.

         67.      Some of those colleges and universities have internal mail departments, separate

and apart from the Postal Service, that further complicate this process and create more potential

barriers to official election mail reaching its intended recipients. In at least one case, a campus’s

mailroom policy was to contact a student by email when receiving mail for that student, and then

return the mail to sender if the student does not retrieve it in a timely fashion. As a result, even

though a student voter is fully eligible to vote in North Carolina, the address where that voter




31
   Id. at 1800.
32
   Id. at 1801.
33
   Id. at 1827.


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resides is not readily accessible to mail delivery in a manner that Defendants will accept,

disqualifying that voter’s lawful ballot for reasons beyond the voter’s control.

           68.      Upon information and belief, county boards of elections in counties with large

university and college student populations are aware of the significant challenges of having official

election mail consistently reach students. So, too, are college/university administrators and

groups, like Plaintiffs, who advocate for the rights of student voters throughout the state.

           69.      Contributing to the significant challenges students face in timely receiving official

election mail is the unreliability of using mail returned as “undeliverable” as an indicator of non-

residency. According to the Postal Service, mail can be undeliverable for reasons unrelated to a

voter’s potential eligibility to vote, such as “no postage,” “incomplete, illegible, or incorrect

address,” “mail unclaimed,” “mail refused by the addressee,” and “minimum criteria for

mailability not met.” 34 These circumstances are entirely beyond the voter’s knowledge, let alone

control.

           70.      Moreover, a failure of mail verification does not necessarily mean that a voter was

ineligible when they registered at that address. Some voters—whose registration was denied in

one election cycle because their address could not be verified by mail—later re-register and appear

on the voter rolls registered under the same address that previously could not be verified.

Additionally, voters sometimes change addresses in November of an election year. The same-day

registration process is designed to ensure that voters are eligible when they cast their ballot—a

voter who presents qualifying documentation and presents to vote during same-day registration, in

accordance with applicable law, and who moves the day after Election Day, is still an eligible voter

for that election even if they later fail mail verification at their previous address. In other words,



34
     507 Mailer Services, USPS.com, https://pe.usps.com/text/dmm300/507.htm (last visited Oct. 11, 2023).


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as written and as implemented, SB 747 treats new voters who move in November after voting as

unqualified voters in North Carolina. The simple act of moving does not make that voter ineligible

to vote, nor does it make their ballot improperly cast.

         71.    The NCSBE repeatedly has acknowledged that a failure of mail verification should

not be equated with voter ineligibility. In an NCSBE Numbered Memo titled “Unverified

Registrations,” then-Executive Director Gary Bartlett, addressing voters who register by mail or

in person at a one-stop site, observed that “[t]here are several reasons that could have been the

basis for the unsuccessful verification mailings” and “[i]t must be emphasized that the failure of

the verification process does not necessarily mean that the voter should not have cast a ballot.” 35

And as noted by the Fourth Circuit in the case challenging House Bill 589, the NCSBE

“acknowledged some of the conflicts between same-day registration and mail verification, but

clarified that ‘same day registration does not result in the registration of voters who are any less

qualified or eligible to vote than’ traditional registrants, and that ‘undeliverable verification

mailings were not caused by the nature of same-day registration.’” N.C. State Conf. of the NAACP,

831 F.3d at 237 (citations omitted); see also N.C. State Conf. of the NAACP v. McCrory, 182 F.

Supp. 3d 320, 448 (M.D.N.C. 2016) (“Mail verification is admittedly ‘not a precise verification

system’ for determining an applicant’s residency”), rev’d on other grounds, 831 F.3d 204 (4th Cir.

2016).




35
     Unverified Registrations, Numbered Memo 2012-28 at 1, NCSBE (Nov. 14,                        2012),
https://s3.amazonaws.com/dl.ncsbe.gov/sboe/numbermemo/2012/2012-28_UnverifiedRegistrations.pdf.


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        D.      SB 747 Places Onerous and Unnecessary Restrictions on the Same-Day
                Registration Process and Other Election Law Provisions

                1.      SB 747’s Provisions

        72.     Filed on June 1, 2023, and enacted into law on October 10, 2023, SB 747 touches

on almost every facet of voting in North Carolina.

        73.     In particular—and as relevant here—the bill substantially overhauls the same-day

registration process for North Carolina voters by re-writing N.C.G.S. § 163-82.6A and adding a

new section, N.C.G.S. § 163-82.6B. This overhaul changes the law and guidance concerning

same-day registration and voting, including (1) the steps county boards must take to verify the

address of a person who registers using same-day registration and (2) the consequence to the voter

should address mail verification fail. S.B. 747, 2023 Leg., Reg. Sess., §§ 9, 10(a) (N.C. 2023).

        74.     As discussed above, prior to SB 747, the two-mailer address verification process

applied to a qualified person registering to vote during both the normal registration period and

same-day registration. Under this process, if the First Notice was returned undeliverable, the

Second Notice was sent. If the Second Notice was returned, the registration could be denied, but

depending on when the Second Notice was returned, the applicant’s registration and ballot (if they

had voted) were not automatically denied and discarded.

        75.     Section 10(a) of SB 747 drastically changes this process. Now, an individual

utilizing same-day registration will be sent only the First Notice under the mail verification process

in N.C.G.S. § 163-82.7, and if that single notice returns as undeliverable “before the close of

business on the business day before canvass, the county board shall not register the applicant and

shall retrieve the applicant’s ballot and remove that ballot’s votes from the official count.” Id.

County boards are under no obligation to provide notice or an opportunity to be heard to the voter

before denying the registration application and canceling the cast ballot.



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        76.     Section 10(a) also places further restrictions on the types of identifying documents

that can be utilized to satisfy the “proof of residence” requirement for same-day registration. Prior

to SB 747, an individual qualified to register could satisfy the “proof of residence” requirement by

“presenting any of the following documents that show the person’s current name and current

residence address: a North Carolina driver’s license, a photo identification from a government

agency, or any of the documents listed in G.S. 163-166.12(a)(2),” which includes “a current utility

bill, bank statement, government check, paycheck, or other government document.” N.C.G.S. §§

163-82.6A(b)(2), 163-166.12(a)(2). The NCSBE also had the delegated authority to “designate

additional documents or methods that suffice and shall prescribe procedures for establishing proof

of residence.” Id. The NCSBE utilized that delegated authority to address the “specific challenge”

facing “[s]tudents living in a campus housing facility, such as a dormitory, [who] may have

particular difficulty producing a qualifying document displaying their on-campus address,” by

approving the pairing of a student photo identification with “a list of all students residing in a

particular campus housing facility” provided directly to the county board of elections from the

educational institution. 36

        77.     SB 747 strips that delegation of authority from the NCSBE, thus eliminating the

“other documents and methods” approved to assist students, and then further narrows that list of

approved documents, defined as “HAVA document[s],” to a current utility bill, bank statement,

government check, paycheck, another government document, or a document “issued from the

institution who issued the photo identification shown by the voter pursuant to G.S. 163-166.16.”

S.B. 747, 2023 Leg., Reg. Sess., § 10(a) (N.C. 2023).



36
  See also Same-day Registration During One-Stop Early Voting, Numbered Memo 2016-15, NCSBE (Sept. 22,
2016), https://s3.amazonaws.com/dl.ncsbe.gov/sboe/numbermemo/2016/Numbered_Memo_2016-15_Same-
Day_Registration.pdf.


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        78.     In addition to these changes, SB 747 makes it easier to challenge the eligibility of

a voter casting a ballot during the early voting period by expanding who can bring the challenges

and when they can be filed.

        79.     Previously, voter challenges of absentee ballots (including ballots cast during the

early voting period) could be filed only by (i) a voter registered in the same precinct as the

challenged voter, (ii) a chief judge of the challenged voter’s precinct, or (iii) an official conducting

elections at an early voting site. N.C.G.S. §§ 163-89(b), 162-227.2(i). 37 To be considered timely,

the challenge had to be filed between 12:00 p.m. and 5:00 p.m. on Election Day at the county

board office. N.C.G.S. § 163-89(a). 38 Ballots cast during early voting could also be challenged

during the early voting period at the county board office or when the voter presents to vote their

ballot at their early voting site. N.C.G.S. § 163-227.2(i). 39 Sections 13(a) and 15 of SB 747 change

those rules to allow any registered voter in the same county (not just precinct) as the challenged

voter to file a challenge and also extends the time such challenges can be filed to as late as 5:00

p.m. on the fifth business day after the primary or election for absentee ballots.

        80.     While extending the time to challenge absentee ballots, SB 747 shortens the time

to return an absentee ballot. Previously, absentee ballots would be counted so long as they were

postmarked by the day of the election and received within three days of that election. N.C.G.S. §

163-231(b). But under Section 35 of SB 747, regardless of when the absentee ballot is postmarked,

if it is not received by 7:30 p.m. on the day of election, the ballot will not be counted, subjecting

ballots to the further vicissitudes of the Postal Service.




37
   NCSBE, Voter Challenge Procedures Guide 2,
https://s3.amazonaws.com/dl.ncsbe.gov/Forms/2022/Voter%20Challenge%20Procedures%20Guide.pdf (last
updated June 8, 2022).
38
   See also id. at 3.
39
   See also id.


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        81.     These provisions substantially impair the right to vote of eligible North Carolinians,

especially young and student voters, while doing nothing to advance the goals of “election

integrity” or improved election administration.

                2.      The Legislative Process and Public Statements by Members of the
                        General Assembly

        82.     Eleven days after SB 747’s introduction, the bill was referred to the Senate

Committee on Redistricting and Elections (the “Senate Elections Committee”). The Senate

Elections Committee considered SB 747 for less than two hours total on June 14 and 15, where

one sponsor, who labeled the bill the “jumbo jet of election integrity,” indicated that concerns

about college voters facing difficulties voting were misplaced because he assumed “most college

freshmen probably would remain registered in their home of residence and would vote absentee

there.” Regarding the new deadline for returning absentee ballots, another senator stated, “we

don’t see [moving the deadline to Election Day] as invalidating any votes. People just need to

adjust.” The Senate Elections Committee sent SB 747 to the Committee on Rules and Operations

of the Senate (the “Senate Rules Committee”) on June 15. That day, another senator stated that he

was “still concerned about [students].”

        83.     On June 20, SB 747 went before the Senate Rules Committee, which then

forwarded the bill to the broader Senate after hearing from the public, including from a

representative of the NCEIT.

        84.     On June 21, SB 747 was presented for debate on the Senate floor. Bill proponents

expressed their concern for election integrity, stating that North Carolina’s inability to call

elections on Election Day in prior cycles undermined “confidence and transparency in [North

Carolina’s] elections,” “harm[ed] the integrity of the process,” and would cause “far too many

North Carolinians [to] question whether the 2024 elections will be free and fair.” Proponents also



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argued for a requirement that all votes arrive by Election Day, citing the need to “minimize the

delay in declaring a winner” and “wrap up the election process in a more efficient manner.”

        85.     In the same debate, other senators expressed concerns about SB 747’s restrictions

on voters. One senator stated that “voters are going to be dissuaded from voting . . . if they hear

that they’re going to need all this extra proof to show where they live” and that SB 747 will “have

a disproportionate impact on voters of color, student voters, military members and young voters”

because they “use same-day registration at a higher rate and are less likely to have that limited

number of documents that you’re allowing to prove their address.” That senator pointed out the

fallacy in pursuing “final” election results on election day “because election results are always

unofficial on election night . . . the vote tallies are preliminary by law, and they will remain so with

this bill.” Another senator noted that SB 747 contains “impractical mechanical changes for the

administration of our elections, particularly around . . . same-day voter registration . . . that will

inject immense confusion, chaos and conflict into the voting process for North Carolinians and in

so doing, massively erode faith in our elections.” Nevertheless, the bill passed its second and third

readings and was sent to the House on June 22, despite concerns that the process was rushed and

lacked sufficient opportunity for public comment.

        86.     SB 747 passed its first reading in the House on June 26. It sat dormant for nearly

two months until it went before the House Election Law and Campaign Finance Reform

Committee on August 15 as a “Proposed House Committee Substitute.” The Chair Representative

noted that the Proposed House Committee Substitute “has changed quite a bit” in comparison to

the version of SB 747 passed by the Senate on June 21. At that committee meeting, representatives

expressed concerns about the “significant” changes to same-day voting and the “inefficient,

ineffective, and unfortunately unreliable” Postal Service, upon which SB 747 relies to determine




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whether votes cast via same-day registration count. Proponents reiterated the importance of

“bring[ing] certainty to our elections” with an Election-Day cutoff for mail-in ballots.

        87.     On August 16, SB 747 went before the House Committee on Rules, Calendar, and

Operations of the House, where one of the bill sponsors identified the change to same-day

registration as a “key substantive provision[] that . . . will increase election integrity.” That same

day, the House met for its only debate on the bill. One representative offered an amendment to

remove the vote from the count only if a second notice was returned as undeliverable, reasoning

that the return of the first notice could be the fault of Postal Service, not the voter. A proponent

of the bill urged his colleagues to vote against the amendment, contending “[o]ne mailing is

adequate and serves the purpose.” After the amendment failed, a representative emphasized that

the state should not be relying on “one chance” and “one postcard,” as “mail can be undeliverable

for a host of reasons that have nothing to do with whether someone is eligible to vote.” That

representative also called into question the “election integrity” rationale of the bill’s proponents,

noting that courts could not “identify a single individual who had ever been charged with

committing in-person voter fraud in North Carolina.”

        88.     Throughout the entire legislative process for SB 747, the General Assembly never

produced, furnished, or otherwise relied upon any evidence, study, or data that could even begin

to demonstrate the need for SB 747, and the burdens that the law places on North Carolina voters.

        89.     On August 17, SB 747 was ratified and passed to the Governor.

        90.     On August 24, the Governor vetoed SB 747. In his veto message, the Governor

explained that SB 747 “work[s] to erect new barriers for younger and non-white voters, many of

whom use early voting and absentee ballots.”




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        91.     On October 10, supermajorities in both chambers overrode Governor Cooper’s

veto, enacting SB 747.

        E.      SB 747 Makes It Much More Difficult for Young North Carolinians To Vote
                and Have Their Vote Counted, Yet Fails To Increase Election Integrity or
                Improve Election Administration

        92.     Prior to SB 747, North Carolina election law protected the fundamental right to

vote of its qualified citizens by offering, at minimum, a two-mailer notice process before denying

a voter registration application and additional intervention points before rejecting a cast ballot,

such as a challenge hearing or other opportunities to be heard, regardless of whether the address

mail verification process had concluded. These procedures, along with the additional proof

requirements for same-day registrants, balanced a qualified voter’s right to cast a valid ballot

against the state’s interest in administering elections efficiently and effectively and ensuring only

qualified voters cast a ballot.

        93.     By changing the mail verification process for same-day registrants to a single-

mailer, no-notice, ballot rejection scheme, SB 747 upends the balance struck by the previous

system and targets youth voters and their preferred method of voting. The General Assembly’s

stated justifications for these additional and significant burdens—election security and

administration—are not in fact advanced by SB 747.

                                              CLAIMS

                                           COUNT ONE

                                        (All Defendants)
     (Denial of Plaintiffs’ Right to Procedural Due Process in violation of the Fourteenth
         Amendment to the Constitution of the United States and 42 U.S.C. § 1983)

        94.     Plaintiffs reallege and reincorporate by reference all prior paragraphs of this

Complaint and the paragraphs in the counts below as though fully set forth herein.




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        95.     The Due Process Clause of the Fourteenth Amendment prohibits the deprivation of

“life, liberty, or property, without due process of law.” U.S. Const. amend. XIV. “Where the

government seeks to deprive someone of a liberty interest protected by due process, due process

demands that certain procedural safeguards be provided.” United States v. Baker, 45 F.3d 837,

843 (4th Cir. 1995). A liberty interest that is governed by due process can be created by the

Constitution or “may arise from an expectation or interest created by state laws or policies.”

Wilkinson v. Austin, 545 U.S. 209, 221 (2005).

        96.     At a minimum, “procedural due process requires fair notice of impending state

action and an opportunity to be heard.” Snider Int’l Corp. v. Town of Forest Heights, 739 F.3d

140, 146 (4th Cir. 2014) (citing Mathews v. Eldridge, 424 U.S. 319, 333 (1976)).

        97.     “Proper notice is ‘an elementary and fundamental requirement of due process,’ and

must be reasonably calculated to convey information concerning a deprivation.’” Id. at 146

(quoting Mullane v. Cent. Hanover Bank & Tr. Co., 339 U.S. 306, 314 (1950)).

        98.     As for the opportunity to be heard, “Mathews set forth the familiar three-step

inquiry for determining the adequacy of the opportunity to be heard: a balancing of the private

interest and the public interest, along with ‘the risk of an erroneous deprivation of such interest

through the procedures used, and the probable value, if any, of additional or substitute procedural

safeguards.’” Id. at 146 (quoting Mathews, 424 U.S. at 335). “Fundamental to due process is an

opportunity to be heard—‘an opportunity which must be granted at a meaningful time.’” Sciolino

v. City of Newport News, 480 F.3d 642, 653 (4th Cir. 2007) (quoting Armstrong v. Manzo, 380

U.S. 545, 552 (1965)).

        99.     Absent exigent circumstances, due process requires pre-deprivation procedures.

See Cleveland Bd. of Educ. v. Loudermill, 470 U.S. 532, 542 (1985) (“We have described ‘the root




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requirement’ of the Due Process Clause as being ‘that an individual be given an opportunity for a

hearing before he is deprived of any significant property interest.’” (quoting Boddie v. Connecticut,

401 U.S. 371, 379 (1971)).

        100.    North Carolina law gives all qualified North Carolina voters statutory rights to

register to vote, including through same-day registration, and to cast a ballot that will be processed



personal” right to vote under North Carolina law. Gill v. Whitford, 138 S. Ct. 1916, 1929 (2018)

(quoting Reynolds v. Sims, 377 U.S. 533, 561 (1964)).

        101.     Under SB 747, qualified voters may register on the same day they cast their ballot

if they meet the requirements of N.C.G.S. § 163-82.6B(b). S.B. 747, 2023 Leg., Reg. Sess., § 9,

10(a) (N.C. 2023). If the county board of elections tentatively determines the individual voter is

qualified at the address the voter supplied during same-day registration, the board then must seek

to verify the voter’s address by mailing them a non-forwardable notice. If that single notice is

returned as undeliverable by the Postal Service before the close of business on the business day

before canvass, the county board, without notifying the voter, cancels the voter’s registration and

removes the voter’s ballot from the official count, denying the eligible voter their right to vote

without due process of law.

        102.    The risk of erroneous deprivation is high, as eligible North Carolina voters are

entitled by law to register and to vote on the same day, and must be provided with procedural

safeguards afforded to voters who vote by methods other than same-day registration in North

Carolina: notice of the cancellation of their registration and ballot, and the opportunity to be heard

in response to the deprivation of their voting-based liberty interest. Procedural due process

requires notice of and an opportunity to be heard prior to the county board’s removal of the eligible




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voter’s ballot. The lack of notice and a cure procedure frustrates the core mission of Plaintiffs to

encourage voter participation because, without appropriate notice and hearing procedures in place,

any efforts spent encouraging voters to register and vote during the early voting period could result

in voters being disenfranchised if their address verification notice fails to reach them due to no

fault of their own.

        103.    Defendants cannot advance any interests that outweigh the substantial risk of

erroneous deprivation of the right to vote. The threat of disenfranchising Plaintiffs’ members,

constituents and other voters far outweighs any increased administrative burden in affording voters

an opportunity to receive notice and be heard prior to the removal of their ballot from the official

count. Defendants’ interest in conducting fair election administration and preserving election

integrity would not be compromised, and they would satisfy their weighty interest in abiding by

federal constitutional requirements.

        104.    For the foregoing reasons, Defendants have violated and will continue to violate

Plaintiffs’ federal constitutional rights to procedural due process.

        105.    At all relevant times, Defendants have acted under color of state law.

        106.    Defendants have deprived and will continue to deprive young voters seeking to

register and vote using same-day registration during the early voting period of their right to

adequate notice and a meaningful opportunity to be heard prior to the removal of their ballot from

the official count. Defendants accordingly fail to meet the minimum requirements of procedural

due process guaranteed by the Fourteenth Amendment.




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                                           COUNT TWO

                                  (All Defendants)
      (Undue Burden on the Fundamental Right To Vote in Violation of the First and
   Fourteenth Amendments to the Constitution of the United States and 42 U.S.C. § 1983)

        107.    Plaintiffs reallege and reincorporate by reference all prior paragraphs of this

Complaint and the paragraphs in the counts below as though fully set forth herein.

        108.    State election law and administration may not place burdens upon a person’s right

to vote unless relevant and legitimate state interests of sufficient weight necessarily justify the

magnitude and character of the burdens imposed. See Burdick v. Takushi, 504 U.S. 428, 434

(1992); Anderson v. Celebrezze, 460 U.S. 780, 789 (1983). “When facing any constitutional

challenge to a state’s election laws, a court must first determine whether protected rights are

severely burdened.” Fusaro v. Cogan, 930 F.3d 241, 257–58 (4th Cir. 2019). “If so, strict scrutiny

applies.” Id. at 258–59. The court subjects to strict scrutiny laws that deny “the right to vote,”

“the right to appear on the ballot,” or “the right to form or associate in a political organization.”

Libertarian Party of Va. v. Alcorn, 826 F.3d 708, 717 (4th Cir. 2016).

        109.    For other laws, “the court must balance the character and magnitude of the burdens

imposed against the extent to which the regulations advance the state’s interests.” Alcorn, 826

F.3d 258. Notably, any burden on the constitutional right to vote—“[h]owever slight [it] may

appear”—“must be justified by relevant and legitimate state interests ‘sufficiently weighty to

justify the limitation.’” Crawford v. Marion Cnty. Elec. Bd., 553 U.S. 181, 191 (2008) (Stevens,

J., controlling op.) (emphasis added).

        110.    The single-notice address verification process established for same-day registration

in SB 747 imposes a severe burden on eligible North Carolina voters’ right to vote. Unlike voters

who register outside of the early-voting period, those registering and voting during early-voting

are subject to having their vote disqualified through no fault of their own—all it takes is one piece


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of misdirected or returned mail to bar them from having their vote count. This denies those eligible

voters of their right to vote—the severest of burdens—without giving them any notice, opportunity

to be heard, or other recourse. These barriers disproportionately affect young and student voters,

who heavily rely upon same-day registration when voting.

        111.    None of the burdens imposed by the challenged provisions of SB 747 are

reasonably related to, let alone necessary to achieve, any sufficiently weighty legitimate state

interest. The burdens imposed by the challenged provisions of SB 747 accordingly lack any

constitutionally adequate justification and must be enjoined.

        112.    The state’s interest in decreasing the administrative costs associated with providing

notice or an opportunity to be heard must yield to the threat of disenfranchising Plaintiffs’

members, constituents, and other voters. An interest in conducting fair elections does not justify

SB 747’s nonexistent ballot removal notification process and lack of opportunity to be heard, and

the one-letter address verification is a needlessly duplicative method of verifying the voter’s

address, as the same-day voter must already provide “proof of residency by presenting a HAVA

document listing the individual’s current name and residential address.” S.B. 747, 2023 Leg., Reg.

Sess., § 10(a) (N.C. 2023).

        113.    Accordingly, the challenged same-day voter provisions of SB 747 are not supported

by any state interests sufficient to justify the resulting burdens on the right to vote, and unduly

burden this right in violation of the First and Fourteenth Amendments.

                                          COUNT THREE

                                        (All Defendants)
        (Intentional Discrimination in Violation of the Twenty Sixth Amendment to the
                    Constitution of the United States and 42 U.S.C. § 1983)

        114.    Plaintiffs reallege and reincorporate by reference all prior paragraphs of this

Complaint and the paragraphs in the counts below as though fully set forth herein.


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        115.    The Twenty-Sixth Amendment provides in relevant part: “[t]he right of citizens of

the United States, who are eighteen years of age or older, to vote shall not be denied or abridged

by … any State on account of age.” The goal of the Amendment “was not merely to empower

voting by our youths but was affirmatively to encourage their voting, through the elimination of

unnecessary burdens and barriers, so that their vigor and idealism could be brought within rather

than remain outside lawfully constituted institutions.” Worden v. Mercer Cty. Bd. of Elec., 294

A.2d 233, 243 (N.J. 1972).

        116.    SB 747 and, in particular, its same-day registration provision are intended to

suppress the number of votes cast by young voters and discriminate on the basis of age.

        117.    SB 747 and the same-day registration provision are not justified by any legitimate

state interest, much less narrowly tailored to a compelling state interest.

        118.    SB 747 and the same-day registration provision abridge and deny the right to vote

for young voters on the basis of their age. Because of the system by which ballots cast using same-

day registration fail with one failed-to-deliver notice, otherwise eligible young voters are denied

the ability to register to vote and to have their vote count in violation of the Twenty-Sixth

Amendment.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs respectfully request that this Court:

        (a)     Assume jurisdiction over this matter;

        (b)     Declare that Section 10(a) of Senate Bill 747, codified at N.C. Gen. Stat. § 163-

82.6B, is unconstitutional, illegal, and of no force or effect;

        (c)     Declare that Section 10(a) of Senate Bill 747, codified at N.C. Gen. Stat. § 163-

82.6B, violates the right to procedural due process under the Fourteenth Amendment to the U.S.

Constitution;


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        (d)     Declare that Section 10(a) of Senate Bill 747, codified at N.C. Gen. Stat. § 163-

82.6B, violates the First and Fourteenth Amendments to the U.S. Constitution as undue burdens

on the right to vote;

        (e)     Declare that Section 10(a) of Senate Bill 747, codified at N.C. Gen. Stat. § 163-

82.6B, violates the Twenty-Sixth Amendment to the U.S. Constitution;

        (f)     Enjoin Defendants, their agents, officers, employees, successors, and all persons

acting in concert with each or any of them from enforcing Section 10(a) of Senate Bill 747,

including enjoining Defendants from conducting any elections utilizing that provision;

        (g)     Award Plaintiffs their reasonable costs and attorneys’ fees incurred in bringing this

action pursuant to 42 U.S.C. § 1988, 28 U.S.C. § 1920, and as otherwise permitted by law; and

        (h)     Order any other relief as this Court deems just and proper.




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  Dated: October 17, 2023                           Respectfully submitted,

                                                    /s/ Jeffrey Loperfido

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